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 8
 9
10                        UNITED STATES DISTRICT COURT
11
                         CENTRAL DISTRICT OF CALIFORNIA
12
13   Aerial West, LLC,                            Case No. 2:18-cv-02288-JAK-SS
14
                         Plaintiff,               DEFENDANTS DRONE WORLD,
15                                                LLC AND STEPHEN PAUL
16                v.                              McKENNA’S ANSWER TO THE
                                                  COMPLAINT
17   Drone World, LLC, Stephen Paul
18   McKenna, and DOES 1-10, inclusive,           DEMAND FOR JURY TRIAL
19
                         Defendants.
20
21
22
23
24
           Pursuant to Rule 12 and 38 of the Federal Rules of Civil Procedure, defendants
25
26
     Drone World, LLC and Stephen Paul McKenna, by and through counsel hereby

27   respond to the complaint of plaintiff Aerial West, LLC, and demand a jury trial as

28   follows:
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                               DEFENDANTS DRONE WORLD, LLC AND STEPHEN PAUL McKENNA’S
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 1                                    INTRODUCTION
 2         Defendants admit Drone World, LLC (“Drone World”) is operated by
 3   McKenna and that it has ordered Aerial West products. Defendants deny the
 4   remaining allegations of the Introduction paragraphs.
 5                                      THE PARTIES
 6         1.     Defendants lack information sufficient to form a belief as to the truth or
 7   falsity of the allegations contained in Paragraph 1 of the complaint and on that basis
 8   deny said allegations.
 9         2.     Defendants admit Drone World LLC is a California limited liability
10   company with an address at 22815 Savi Ranch, Parkway Unit E, Yorba Linda,
11   California 92887. Defendants deny the remaining allegations of Paragraph 2.
12   Defendants also allege that the allegations of Paragraph 2 are conclusions of law
13   to which no response is necessary.
14         3.     Defendants admit Stephen Paul McKenna is an individual. Defendants
15   deny the remaining allegations of Paragraph 3. Defendants also allege that the
16   allegations of Paragraph 3 are conclusions of law to which no response is
17   necessary.
18         4.     Denied.
19                             JURISDICTION AND VENUE
20         5.     Defendants allege that the allegations of Paragraph 5 are conclusions
21   of law to which no response is necessary. To the extent said allegations are factual
22   in nature, defendants deny the allegations.
23         6.     Defendants allege that the allegations of Paragraph 5 are conclusions
24   of law to which no response is necessary. To the extent said allegations are factual
25   in nature, defendants deny the allegations.
26                              GENERAL ALLEGATIONS
27         7.     Denied.
28         8.     Denied.
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 1         9.     Denied.
 2         10.    Defendants admit Exhibit A speaks for itself.
 3         11.    Defendants admit McKenna contacted Drone World on July 23, 2017
 4   and that Drone World ordered products from Aerial West. Defendants deny the
 5   remaining allegations.
 6         12.    Defendants admit Drone World ordered products from Aerial West.
 7   Defendants admit Drone World cancelled an order with Aerial West. Defendants
 8   deny the remaining allegations of Paragraph 12.
 9         13.    Denied.
10         14.    Denied.
11         15.    Denied.
12         16.    Denied.
13         17.    Denied.
14         18.    Denied.
15         19.    Defendants admit Aerial West has filed an application to register the
16   MAVMOUNT trademark with the United States Patent and Trademark Office
17   (“USPTO”). Defendants deny the remaining allegations of Paragraph 19.
18                             FIRST CLAIM OF RELIEF
19         20.    Defendants incorporate by reference each and every allegation
20   contained in the foregoing paragraphs, as though fully set forth here.
21         21.    Denied.
22         22.    Denied.
23         23.    Denied.
24         24.    Denied.
25         25.    Denied.
26         26.    Denied.
27         27.    Denied.
28         28.    Denied.
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 1                            SECOND CLAIM OF RELIEF
 2         29.    Defendants incorporate by reference each and every allegation
 3   contained in the foregoing paragraphs, as though fully set forth here.
 4         30.    Denied.
 5         31.    Denied.
 6         32.    Denied.
 7         33.    Denied.
 8         34.    Denied.
 9         35.    Denied.
10         36.    Denied.
11                             THIRD CLAIM OF RELIEF
12         37.    Defendants incorporate by reference each and every allegation
13   contained in the foregoing paragraphs, as though fully set forth here.
14         38.    Denied.
15         39.    Denied.
16         40.    Denied.
17                            FOURTH CLAIM OF RELIEF
18         41.    Defendants incorporate by reference each and every allegation
19   contained in the foregoing paragraphs, as though fully set forth here.
20         42.    Denied.
21         43.    Denied.
22         44.    Denied.
23                             FIFTH CLAIM OF RELIEF
24         45.    Defendants incorporate by reference each and every allegation
25   contained in the foregoing paragraphs, as though fully set forth here.
26         46.    Denied.
27         47.    Denied.
28         48.    Denied.
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 1         49.     Denied.
 2         50.     Denied.
 3         51.     Denied.
 4         52.     Denied.
 5         53.     Denied.
 6                              AFFIRMATIVE DEFENSES
 7                   First Affirmative Defense: Trademark Invalidity
 8         Plaintiff’s purported trademark “MAVMOUNT” is generic and/or merely
 9   descriptive as describing a mount to be used with a DJI MAVIC drone.
10   Moreover, Plaintiff’s use of MAVMOUNT has not established secondary
11   meaning.
12                  Second Affirmative Defense: Trade Dress Invalidity
13         Plaintiff’s purported trade dress is invalid, because product design trade
14   dresses cannot be inherently distinctive as a matter of law. Wal-Mart Stores Inc.
15   v. Samara Brothers, Inc., 529 U.S. 205, 214 (2000). Additionally, the purported
16   unregistered trade dress is invalid because it has not established secondary
17   meaning and comprises entirely functional elements.
18                     Third Affirmative Defense: Non-Infringement
19         The claims made in Plaintiff’s complaint are barred, in whole or in part,
20   because defendants have not infringed any right of plaintiff.
21                           Fourth Affirmative Defense: Fair Use
22         The claims made in Plaintiff's complaint are barred, in whole or in part, by
23   the doctrines of fair use, nominative fair use and/or descriptive use.
24       Fifth Affirmative Defense: Waiver, Acquiescence, Estoppel and Laches
25         Plaintiff’s claims are barred, in whole or in part, due to plaintiff’s
26   knowledge of defendants’ actions and plaintiff’s unreasonable delay in asserting
27   its claims.
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 1                       Sixth Affirmative Defense: Unclean Hands
 2         The purported claims alleged in the complaint are barred, in whole or in
 3   part, by the doctrine of unclean hands, including without limitation, plaintiff’s
 4   invalid claims, statements, and allegations of counterfeiting. Since a counterfeit
 5   of plaintiff’s product cannot exist as a matter of law under 15 U.S.C. §
 6   1116(d)(1)(B)(i) as plaintiff’s alleged trademark MAVMOUNT is unregistered.
 7                   Seventh Affirmative Defense: Lack of Willfulness
 8         The purported claims alleged in the complaint are barred, in whole or in
 9   part, because defendants’ alleged actions were not willful.
10                    Eighth Affirmative Defense: Failure to Mitigate
11         To the extent that Plaintiff has suffered any damages, which Defendants
12   specifically deny, Plaintiff has failed to mitigate its damages and thus Plaintiff is
13   barred from recovering same.
14                Ninth Affirmative Defense: Lack of Irreparable Harm
15         Plaintiff s claims for injunctive relief are barred because Plaintiff cannot
16   show that it will suffer any irreparable harm from Defendants’ actions.
17                     Tenth Affirmative Defense: Lack of Damages
18         Without admitting that Plaintiff s complaint states a claim, there has been no
19   damage in any amount, manner or at all by reason of any act alleged against
20   Defendant, and the relief prayed for in the complaint therefore cannot be granted.
21              Eleventh Affirmative Defense: Statutory Damages Barred
22         Plaintiff’s claims for statutory damages are barred as a matter of law per 15
23   U.S.C. §§ 1117(c) and 1116(d)(1)(B)(i) as plaintiff’s alleged mark is unregistered.
24               Twelfth Affirmative Defense: Punitive Damages Barred
25         Plaintiff’s claims for punitive damages are barred as a matter of law under
26   Electronics Corp. of America v. Honeywell, Inc., 358 F.Supp. 1230, 1234-1235
27
28
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 1   (1973); Fleischmann Distilling Corp. v. 19 Maier Brewing Co., 386 U.S. 714, 720
 2   (1967); See, also, Restatement Third, Unfair 20 Competition § 36, comment "n"
 3   (1995).
 4                              Reservation of Additional Defenses
 5          Defendants reserve all affirmative defenses available under Rule 8(c) and
 6   Rule 12 of the Federal Rules of Civil Procedure, and any other defenses, at law or in
 7   equity, that may be available now or may become available in the future based on
 8   discovery or any other factual investigation in this case, or that may be asserted by
 9   plaintiff.
10                                   PRAYER FOR RELIEF
11          WHEREFORE, Defendants request entry of judgment in their favor and
12   against plaintiff as follows:
13                a. Denying all relief sought by plaintiff in the complaint;
14                b. Declaring the action to be exceptional and awarding defendants their
15                   attorneys’ fees pursuant to 17 U.S.C. § 1117 or other related law; and
16                c. Such other and relief as the Court deems just and appropriate.
17
18                                              Respectfully Submitted,
19   Dated: June 6, 2018                        MANDOUR & ASSOCIATES, APC
20
                                                      /s/ Ben T. Lila
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                                                DRONE WORLD, LLC and
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                                                          Case No. Case No. 2:18-cv-02288-JAK-SS
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 1                                   JURY DEMAND
 2         Counterclaimants demand a trial by jury of all issues so triable.
 3
 4                                          Respectfully Submitted,
 5   Dated: June 6, 2018                    MANDOUR & ASSOCIATES, APC
 6
                                                  /s/ Ben T. Lila
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10                                          STEPHEN PAUL MCKENNA
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 1                            CERTIFICATE OF SERVICE
 2         I hereby certify that on the below date, I filed the foregoing document via
 3   the Court’s CM/ECF Filing System, which will serve electronic notice of the same
 4   on the following:
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